                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS


JENNIFER BRIDGES, et al          §
                                 §
      Plaintiffs,                §
                                 §
V.                               §                             Civil Action No. 4:21-CV-01774
                                 §
THE METHODIST HOSPITAL D/B/A THE §
METHODIST HOSPITAL SYSTEM, AND   §
HOUSTON METHODIST THE WOODLANDS §
HOSPITAL,                        §
                                 §
Defendants.                      §


                                    NOTICE OF APPEAL

       All Plaintiffs hereby appeal, pursuant to 28 U.S.C. § 1291, to the United States Court of

Appeals for the Fifth Circuit, from the Order (Doc. 18) entered on June 12, 2021, by the United

States District Court, Southern District of Texas, Houston Division, which dismissed this case.

Dated: June 14, 2021


                                             Respectfully submitted,
                                             /s/ Jared R. Woodfill
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                                CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing pleading has been served on all
counsel of record through the Court’s electronic filing system, on June 14, 2021.

                                                     /s/ Jared R. Woodfill__
                                                     Jared R. Woodfill
